                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 BARBARA BROWN, Individually and as                )
 Surviving Wife and as Next of Kin and as          )
 Personal Representative of the Estate of          )
 Harold Eugene Brown, Deceased,                    )
                                                   )
               Plaintiff,                          )
                                                   )
 v.                                                )      No.:   3:06-CV-240
                                                   )             (VARLAN/GUYTON)
 SUN HEALTHCARE GROUP, INC., et al.,               )
                                                   )
               Defendants.                         )


                               MEMORANDUM & ORDER

        This civil action is before the Court for consideration of Plaintiff Barbara Brown’s

 (“Plaintiff”) Motion to Non-Suit. [Doc. 163.] In the motion, Plaintiff requests that the

 claims against all Defendants be non-suited without prejudice. Defendants Sun Healthcare

 Group, Inc.; Sunbridge Healthcare Corporation d/b/a Marshall C. Voss Rehabilitation Center;

 Maplewood Healthcare Center of Jackson, Inc., d/b/a Marshall C. Voss Health and

 Rehabilitation Center (“Defendants”) respond that the Court should only grant Plaintiff’s

 motion subject to certain terms and conditions. [See Doc. 164.] Plaintiff replies that

 dismissal without prejudice is sought only because Plaintiff believes the Court does not have

 subject matter jurisdiction in this case, so dismissal should be without the terms and

 conditions Defendants seek. [See Doc. 165.] The matter is now ripe for the Court’s

 determination. For the reasons that follow, the Court will dismiss Plaintiff’s suit pursuant




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 to Fed. R. Civ. P. 12(h)(3). Accordingly, Plaintiff’s Motion to Non-Suit [Doc. 163] will be

 denied as moot.

 I.     Relevant Facts

        On June 16, 2006, Plaintiff filed the original complaint in this civil action. On March

 7, 2007, the Scheduling Order [Doc. 32] was entered in this case. The Scheduling Order set

 jury trial for February 5, 2008. [Id.] The jury trial was subsequently reset for June 2, 2008,

 in order to give parties an opportunity to mediate this case. [Doc. 88.] After unsuccessful

 mediation, a final pretrial conference was held on May 23, 2008. [See Doc. 143.] During a

 telephonic status conference on May 28, 2008, the Defendants informed the court that there

 was an issue of subject matter jurisdiction in this case and sought continuance of the trial

 date, to which Plaintiff objected. [See Doc. 145.] The Court continued the telephonic status

 conference until May 29, 2008, to give the parties an opportunity to brief the issue of subject-

 matter jurisdiction. [Id.] While Defendants filed a brief regarding the subject-matter

 jurisdiction issue [Doc. 146], Plaintiff did not file any brief prior to the continued telephonic

 status conference. At the continued telephonic status conference on May 29, 2008, the

 parties agreed to continue the trial and agreed to a briefing schedule regarding the subject-

 matter jurisdiction issue. [See Doc. 148.] In light of the agreement of the parties at the

 continued telephonic status conference, Plaintiff was given leave until June 13, 2008, to file

 any relevant motions as to the subject-matter jurisdiction issue. [Doc. 147.]




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        Plaintiff then sought to amend her amended complaint [Docs. 150, 155] by adding

 federal question claims, which the Court denied on August 21, 2008. [Doc. 162.] Plaintiff

 then filed the present Motion to Non-Suit [Doc. 163] on August 21, 2008.

 II.    Analysis

        Under Fed. R. Civ. P. 41(a)(2), “an action may be dismissed at the plaintiff’s request

 only by court order, on terms that the court considers proper.” In the present case,

 Defendants contend that it would be proper to impose certain terms and conditions on

 Plaintiff’s request for dismissal as “terms that the court considers proper.” Defendants seek

 attorney’s fees and costs. Defendants also request certain other conditions: (1) any discovery

 already conducted not be re-conducted in any subsequent action; (2) no new witnesses or

 exhibits be identified and used at trial in any subsequent action that were not already

 identified in this action; (3) the Consent Order for Privacy and Confidentiality [Doc. 55] be

 carried over to any subsequent action; (4) the Court’s ruling that the liability phase of this

 case shall be conducted first, prior to any discovery or trial on the “piercing the corporate

 veil” issue, be carried over to any subsequent action; and (5) the Court’s ruling that the

 incident reports sought by Plaintiff were privileged under the Tennessee Peer Review Law

 of 1967 and/or the Tennessee Health Data Reporting Act of 2002 be carried over to any

 subsequent action. Plaintiff replies that she only seeks dismissal because she believes the

 Court lacks subject matter jurisdiction over this case based on diversity, and imposition of

 Defendant’s conditions is unnecessary and would lead to withdrawal of the motion for

 voluntary dismissal.

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        Before addressing the present motion, the Court finds that subject matter jurisdiction

 is lacking in this case. Based on Schwartz v. Elec. Data Sys., Inc., 913 F.2d 279 (6th Cir.

 1990), Defendants challenged Plaintiff’s basis for diversity jurisdiction because formal

 separation between the Defendants is lacking. [See Docs. 145, 146.] When given the

 opportunity to address the implications of Schwartz and the subject matter jurisdiction issue

 [see Doc. 162 at 9], Plaintiff filed the present motion for voluntary dismissal [Doc. 163] and

 stated that she “believes the Court does not have subject matter jurisdiction over this case

 based on diversity” [Doc. 165.] Based on Schwartz and the Plaintiff’s representations to the

 Court, she has not met her “burden of persuading the court that it has subject matter

 jurisdiction.” Am. Fed’n of Gov’t Employees v. Clinton, 180 F.3d 727, 729 (6th Cir. 1999).

        Under Fed. R. Civ. P. 12(h)(3), “[i]f the court determines at any time that it lacks

 subject-matter jurisdiction, the court must dismiss the action.” “Without jurisdiction the

 court cannot proceed at all in any cause. Jurisdiction is power to declare the law, and when

 it ceases to exist, the only function remaining to the court is that of announcing the fact and

 dismissing the cause.” Steel Co. v. Citizens for a Better Env’t, 523 U.S. 83, 94 (1998).

 Furthermore, “[n]o formal motion is needed to raise the issue.” Bauer v. RBX Indus., Inc.,

 368 F.3d 569, 581 (6th Cir. 2004). Thus, the Court will dismiss this case for lack of subject

 matter jurisdiction, and Plaintiff’s Motion for Non-Suit will be rendered moot.

        The remaining question is whether the dismissal in this case should be subject to the

 terms and conditions Defendants seek. Under certain circumstances, dismissal without

 prejudice has been found improper when a great deal of time, money and energy has been

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 expended by all parties to a litigation. Ali v. St. John Hosp., No. 87-1087, 1987 WL 30582,

 at *2 (6th Cir. Dec. 30, 1987). Such circumstances are present in this case given the late

 stage of litigation. However, the Court notes that Ali was dismissed pursuant to Fed. R. Civ.

 P. 41(a)(2) after nine of ten counts were dismissed on motions to dismiss and summary

 judgment, not pursuant to Fed. R. Civ. P. 12(h)(3) as in the present case. Ali, 1987 WL

 30582, at *2.     Thus, despite other similarities, this distinction guides the Court’s

 determination of the terms and conditions issue. To the extent Defendants seek attorney’s

 fees and costs, the Court notes that the Sixth Circuit has vacated awards of attorney’s fees

 “if the district court did not have subject matter jurisdiction over the litigation.” Lynch v.

 Leis, 382 F.3d 642, 648 (6th Cir. 2004). As for the other terms and conditions sought by

 Defendants, the Sixth Circuit has recognized that prejudice does not attach when there is a

 want of jurisdiction. Bauer, 368 F.3d at 581. Likewise, Fed. R. Civ. P. 41(b) specifically

 excepts a dismissal for “lack of jurisdiction” from operating as an adjudication on the merits.

 Such authority recognizes the special nature of jurisdictional dismissals and resistance to

 imposing terms and conditions in such cases. Likewise, the Court will not impose the terms

 and conditions sought by Defendants because this case is being dismissed pursuant to Fed.

 R. Civ. P. 12(h)(3), though all costs of court will be taxed against Plaintiff in light of the

 parties’ agreement as to that issue. [See Docs. 163, 164.]




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 III.   Conclusion

        For the reasons herein, the Court finds that dismissal of this action is proper.

 Accordingly, pursuant to Fed. R. Civ. P. 12(b)(h)(3), the Court hereby DISMISSES without

 prejudice the claims against Defendants with all costs of court to be taxed against the

 Plaintiff. Plaintiff’s Motion to Non-Suit [Doc. 163] is hereby DENIED as moot. The clerk

 is DIRECTED to close this case.

        IT IS SO ORDERED.


                                         s/ Thomas A. Varlan
                                         UNITED STATES DISTRICT JUDGE




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